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                                                                           5
                                                                               Counsel for Susan Varah
                                                                           6
                                                                           7                          IN THE UNITED STATES BANKRUPTCY COURT
                                                                           8                                  FOR THE DISTRICT OF ARIZONA
                                                                           9   In re:
                                                                          10
                                                                               JOSEPH JOHN NICKERSON,               )             Chapter 11 Proceeding
CANTERBURY LAW GROUP, LLP




                                                                          11                                        )
                            14300 North Northsight Boulevard, Suite 129




                                                                               Debtor.                              )             No. 2:18-bk-00434-DPC
                                                                          12    ___________________________________ )
                                    Scottsdale, Arizona 85260




                                                                                                                    )
                                                                          13   SUSAN VARAH,                         )
                                                                          14                                        )             Adv. No. 2:18-ap-_______-DPC
                                                                                    Plaintiff,                      )
                                                                          15                                        )
                                                                                 v.                                 )
                                                                          16                                        )             COMPLAINT
                                                                          17   JOSEPH JOHN NICKERSON,               )
                                                                                                                    )
                                                                          18        Defendant,                      )
                                                                               ___________________________________ )
                                                                          19
                                                                          20            SUSAN VARAH (Plaintiff/Creditor), as and for her Complaint against JOSEPH
                                                                          21   JOHN NICKERSON (Defendant/Debtor), alleges as follows:
                                                                          22                                      NATURE OF THE ACTION
                                                                          23                 1. Plaintiff brings this adversary proceeding pursuant to Rule 7001 of the
                                                                          24   Federal Rules of Bankruptcy Procedure, and 11 U.S.C. § 523(a)(5), and seeks that the debt
                                                                          25   owed to her be classified as exempt from discharge
                                                                          26                                    JURISDICTION AND VENUE
                                                                          27            2.      The Debtor brings this Adversary Proceeding pursuant to Rule 7001 of the
                                                                          28
                                                                               Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).



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                                                                           1          3.     This Bankruptcy Court has jurisdiction over this adversary proceeding

                                                                           2   pursuant to the grant of jurisdiction to the United States District Court for the District of

                                                                           3   Arizona under the provisions of 11 U.S.C. § 523, and 28 U.S.C. § 1334(b) the automatic

                                                                           4   referral provisions of 28 U.S.C. § 157(a) and the District Court’s standing order of reference.

                                                                           5          4.     This Adversary Proceeding is a core proceeding arising under 28 U.S.C. § 157.
                                                                           6          5.     Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.
                                                                           7                                              PARTIES
                                                                           8          6.     Defendant is the Debtor in the above-captioned Bankruptcy Case.
                                                                           9          7.     Plaintiff is the ex-spouse of the Debtor.
                                                                          10          8.     Plaintiff and Defendant are residents of Maricopa County, State of Arizona.
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                                                                                                                FACTUAL ALLEGATIONS
                                                                          12          9.     Debtor commenced this Bankruptcy Case by the filing of a voluntary petition
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                                                                          13   under Chapter 7 of the Bankruptcy Code (the “Petition Date”).
                                                                          14          10.    Prior to the Petition Date, Plaintiff & Defendant entered into a Consent
                                                                          15   Decree of Dissolution (the “Decree”), dated May 12, 2006.
                                                                          16
                                                                                      11.    In connection with the Decree, Defendant entered into a Secured Promissory
                                                                          17
                                                                               Note, dated February 1, 2009 (the “Note”).
                                                                          18
                                                                                      12.    The Note required, inter alia, that Defendant pay the principal sum of
                                                                          19
                                                                               $183,506.18, with interest at the rate of 10% per year.
                                                                          20
                                                                                      13.    The Note, at ¶1, provides:
                                                                          21
                                                                          22                 This Note is made by Maker in connection with the dissolution
                                                                                             of the marriage of Maker and Payee and in satisfaction of
                                                                          23                 certain obligations of Maker arising as a result thereof.
                                                                          24
                                                                          25          14.    Defendant has defaulted on his obligations under the Note.

                                                                          26          15.    Defendant’s obligations to Plaintiff under the Note constitute a claim.
                                                                          27
                                                                          28




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                                                                           1                              COUNT I - NONDISCHARGABILITY

                                                                           2                                        (11 U.S.C. 523(a)(5))

                                                                           3           16.   The Debtor incorporates by reference the allegations of Paragraphs 1 to 17 of
                                                                           4   this Complaint herein by reference, as if set forth fully herein.
                                                                           5           17.   The United States Code specifically makes an Exception to Discharge under
                                                                           6   11 U.S.C. Sec. 523(a)(5); wherein “(a) A discharge under...this title does not discharge an
                                                                           7   individual debtor from any debt...(5) for a domestic support obligation.”
                                                                           8           18.   “Domestic Support Obligations” are broadly construed by the United States
                                                                           9   Congress, the United States Trustee’s Office, and the Bankruptcy Courts and are given
                                                                          10   priority status among all other claims.
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                                                                                       19.   The Note is a domestic support obligation as defined under the Bankruptcy
                                                                          12
                                    Scottsdale, Arizona 85260




                                                                               Code.
                                                                          13
                                                                                       20.   Debtor failed to list or schedule the Domestic Support Obligations as required
                                                                          14
                                                                               by 11 U.S.C. § 521 and Bankruptcy Rule 7001.
                                                                          15
                                                                                       21.   Plaintiff’s claim against Debtor is a exempt from discharge pursuant to 11
                                                                          16
                                                                               U.S.C. § 523(a)(5).
                                                                          17
                                                                                       WHEREFORE, the Plaintiff respectfully requests that this Court: (a) declare Debtor’s
                                                                          18
                                                                               obligations to Plaintiff are non-dischargeable pursuant to 11 U.S.C. § 523(a)(5); (b) award
                                                                          19
                                                                               priority status to the Creditor’s Claim pursuant to 11 U.S.C. § 507(a)(1)(A), or Deny the
                                                                          20
                                                                               Debtor a discharge pursuant to 11 U.S.C. § 727(a)(2) and 727(a)(4)(B) and (h), and grant any
                                                                          21
                                                                               further that this Court deems just and proper.
                                                                          22
                                                                          23           DATED this 5th day of September, 2018.
                                                                          24                                              CANTERBURY LAW GROUP, LLP
                                                                          25
                                                                                                                          By:      /s/ Jonathan Ibsen
                                                                          26                                                    JONATHAN P. IBSEN
                                                                          27                                                    14300 N. Northsight Blvd., Suite 129
                                                                                                                                Scottsdale, AZ 85260
                                                                          28                                                    Counsel for Plaintiff




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